      Case 2:12-cr-00084-RHW             ECF No. 210         filed 08/14/14       PageID.1001 Page 1 of 2
PROB 12C                                                                                 Report Date: August 13, 2014
(7/93)

                                        United States District Court

                                                        for the

                                         Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Eric Peltier, Jr.                          Case Number: 2:12CR00084-RHW-3
 Address of Offender:                          Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 24, 2013
 Original Offense:        Conspiracy to Commit Mail Theft, 18 U.S.C. § 371
 Original Sentence:       Prison - 21 months                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Frank A. Wilson                     Date Supervision Commenced: December 31, 2013
 Defense Attorney:        John Barto McEntire, IV             Date Supervision Expires: December 30, 2016

                                          PETITIONING THE COURT

                 To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Numbers       Nature of Noncompliance

           1&2          Special Condition # 14: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.

                        Supporting Evidence: Eric Peltier violated the conditions of his supervised release in
                        Spokane, Washington, on July 28 and August 12, 2014, by failing to appear for urinalysis
                        testing as directed. It is noted that the offender has failed to appear for urine testing on five
                        occasions since supervision commenced.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.
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